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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Norfolk Division

RAYMOND HICE,
Plaintiff,

Vv. CIVIL NO. 2:21cv281

MAZZELLA LIFTING TECHNOLOGIES, INC.,
& MAZZELLA JHH COMPANY, INC.,

Defendants.
MEMORANDUM ORDER

This matter comes before the court on Defendants’ “Motion to
Dismiss for Failure to State a Claim” (“Motion to Dismiss”), filed
on August 16, 2021, ECF No. 19.

I. Procedural Background

Plaintiff filed the Complaint on May 19, 2021. ECF No. 1.
Defendants filed their first motion to dismiss on July 20, 2021.
ECF No. 12. Plaintiff then filed an Amended Complaint on
August 2, 2021.1 ECF No. 17. The Amended Complaint names as
Defendants Mazzella Lifting Technologies, Inc. (“Mazzella
Lifting”) and Mazzella JHH Company, Inc. (“Mazzella JHH”), and
asserts claims for age discrimination under the Age Discrimination

in Employment Act (“ADEA”)? (Count One), disability discrimination

 

1 “A party may amend its pleading once as a matter of course
within” twenty-one (21) days after service of a motion to dismiss.

Fed. R. Civ. P. 15(a) (1) (B).

229 U.S.C. § 623.
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under the Americans with Disabilities Act (“ADA”)3 (Count Two),
perceived disability discrimination under the ADA’ (Count Three),
and wrongful termination against a stated Virginia public policy
in the Virginia Human Rights Act (“VHRA”)5 (Count Four).

On August 16, 2021, Defendants filed the Motion to Dismiss
and Memorandum in Support, asserting that Mazzella Lifting is
improperly named in the suit and that Counts Two, Three, and Four
of the Amended Complaint fail to state plausible claims against
either Defendant under Fed. R. Civ. P. 12(b) (6). ECF Nos. 19-20.
On August 30, 2021, Plaintiff filed a Response in opposition. ECF
No. 21. On September 7, 2021, Defendants filed a Reply. ECF
No. 22.6

II. Motion to Dismiss

A complaint must be dismissed when a plaintiff's allegations
fail to state a claim upon which relief can be granted. Fed. R.
Civ. P. 12(b) (6). “To survive a motion to dismiss, a complaint
must contain sufficient factual matter, accepted as true, to ‘state

a claim to relief that is plausible on its face.’” Ashcroft v.

 

3°42 U.S.C. § 12101.

4 Id.

5 Plaintiff cites Va. Code Ann. §§ 2.2-3900 and 2.2-3905 (2020)
as establishing a Virginia public policy against age
discrimination in employment. See ECF No. 21 at 9.

6 Due to an internal oversight, this matter was not brought
to the court’s attention until January 13, 2022.

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Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 570 (2007)). Facial plausibility means that
a “plaintiff pleads factual content that allows the court to draw
the reasonable inference that the defendant is liable for the
misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). The
court does not, however, accept as true conclusory statements that
are not supported by factual allegations. See id.
A. Factual Background

For purposes of ruling on the Motion to Dismiss, the court
accepts as true the following facts alleged in the Amended
Complaint and views these facts in the light most favorable to the
Plaintiff. See Venkatraman v. REI Sys., Inc., 417 F.3d 418, 420
(4th Cir. 2005).

Plaintiff was directly employed by Mazzella JHH starting in
2018. See Am. Compl. (I 9, 17. Mazzella JHH is a subsidiary of
Mazzella Lifting. Id. at 7 9. Plaintiff held the position of socket
pourer, with Larry Lusk (“Lusk”) as Plaintiff’s supervisor. Id.
at 9 18. Socket pourer is a specialized skill even among those
qualified as “riggers” and is critical to many of the contracts
performed by Mazzella JHH. Id. at GJ 19, 22. The “job was essential
to the continued operation of [Defendants’ ] profits.” Id, at 7 69.

Plaintiff was qualified to hold the position of socket pourer.
Id. at 4% 20-21. Throughout his employment, Plaintiff had been an

effective employee who received scheduled raises without issue.

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Id. at 44 29-30, 35-36. Plaintiff “had no outstanding personal
issues, was diligent and efficient as a worker, and conformed to
all of [Defendants’] requirements.” Id. at 7 67.

Plaintiff has degenerative arthritis “that impacts his
ability to use his back and legs without excessive and debilitating
pain.” Id. at @ 39. Mazzella JHH knew about the degenerative
arthritis diagnosis when hiring Plaintiff. See id. at qq 40, 42.
When Lusk hired Plaintiff, Lusk granted Plaintiff accommodations
that allowed Plaintiff to work without doing parts of the job that
caused him excessive pain. Id. at 919 43, 45. Mr. Lusk allowed
Plaintiff to work without handling any duties related to the
“three-inch cable.” Id. With the accommodations, Plaintiff has
been able to “perform all of the necessary functions of his
position at a high level.” Id. at 7 41.

In April 2020, Plaintiff was furloughed. Id. at q@ 56.
Plaintiff was “only one of two riggers furloughed, despite his
work ‘socket pouring’ having no decrease in demand.” Id. at 9 57.
Plaintiff was furloughed for about a month prior to his
termination. Id. at 7 59. On July 31, 2020, Plaintiff was notified
that he was being “laid off” with “no plans to return you to work.”

Id. at 7 62 and Exhibit B.? Even though he met or exceeded all

 

7 The letter notification bears the heading of “Mazzella
Companies.” See Am. Compl. at Exhibit B. Interestingly, the letter
does not bear the specific name of either defendant named in this
suit. However, the letter contains language throughout referring

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expectations of employment prior to his termination, Plaintiff
“was the only rigger who was ultimately terminated.” Id. at 911 55,
60. Plaintiff's employers explained the termination as resulting
from COVID-19's financial impact. See id. at { 83. However,
neither Plaintiff nor Defendants experienced a decline in work
or profitability during the COVID-19 pandemic. Id. at @ 64.
Defendants’ business did not slow, and Mazzella JHH continued to
hire new employees at the time it terminated Plaintiff. Id.
at 7 84.

When Mazzella JHH terminated Plaintiff, Plaintiff was the
highest paid and oldest rigger in the rigger division. Id. at 7 34.
At sixty-seven (67) years old, Plaintiff was about ten (10) years
older than the next oldest similarly situated employee and about
twenty-five (25) years older than most of the other riggers. Id.
at (9 37-38. At that time, Plaintiff “was the only employee with
the skills and qualifications to perform the socket pourer job.”
Id. at 7 65. Mazzella JHH replaced Plaintiff shortly after his
termination with a significantly younger and non-disabled socket
pourer. See id. at 4 70, 73, 76. Mazzella JHH did not eliminate

any positions when Plaintiff was terminated. Id. at 7 81.

 

to “the Company,” as if it and any subsidiaries are one entity.
See id.

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On November 24, 2020, one hundred sixteen (116) days after
his termination,® Plaintiff timely filed a discrimination claim
with the Equal Employment Opportunity Commission (“EEOC”)
regarding age discrimination based on his termination. Id.
at 9 86; see Am. Compl. at Exhibit C. On December 11, 2020, one
hundred thirty-three (133) days after his termination,®? Plaintiff
timely supplemented the claim with claims for disability and
perceived disability discrimination based on his termination.!° Am.
Compl. 9 87; see Am. Compl. at Exhibit D. The EEOC issued its
decision of dismissal and notice of rights as to Plaintiff’s claims
on February 24, 2021. See Am. Compl. at Exhibit A.1! Plaintiff

timely filed suit on May 19, 2021, within the ninety (90) day

 

8 Charges of unlawful employment discrimination must be first
filed with the EEOC within one hundred eighty (180) days after the
alleged discrimination occurred. See U.S. Equal Employment
Opportunity Commission, Time Limits for Filing a _ Charge,
https://www.eeoc.gov/time-limits-filing-charge (last visited on
March 3, 2022).

9 See supra note 8.

10 The court notes that Plaintiff's EEOC claim, and
supplement, refer to “Mazzella Lifting Technologies, Inc.,”
“Mazzella Company,” and “Mazzella,” using the terms
interchangeably without distinguishing between the entities. See
Am. Compl. at Exhibits C and D.

1l The EEOC ended its investigation, making “no determination
about whether further investigation would establish violations of
the statute.” Am. Compl. at Exhibit A. The EEOC noted that closing
the investigation does not mean the claims have no merit and does
not certify that the respondent complied with the statutes. See
id. The EEOC made no findings as to the merits of any issues that
“might be construed as having been raised by this charge.” Id.

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deadline from the receipt of the EEOC notice of dismissal. See ECF
No. 1; Am. Compl. at Exhibit A. Finally, Plaintiff alleges that he
has been unable to find comparable work “and has suffered
humiliation, loss of income, and general suffering as a result.”
Am. Compl. @ 88.
B. Merits of Defendants’ Motion

Defendants’ Motion to Dismiss asserts that Mazzella Lifting

is not a proper party to this suit and challenges the sufficiency

of Counts Two through Four of the Amended Complaint. ECF No. 19

at l.
1. Mazzella Lifting as a Party to the Litigation

For Mazzella Lifting to remain a defendant, Plaintiff must
allege a sufficient basis for the claim that Mazzella Lifting was
his employer. See Johnson v. Flowers Indus., Inc., 814 F.2d 978,
979-80 (4th Cir. 1987); see also 29 U.S.C. § 630(f) (defining the
term “employee” under the ADEA as “an individual employed by any
employer”); 42 U.S.c. § 12111(4) (same for the ADA); Va. Code Ann.
§ 2.2-3905(A) (2020) (same for the VHRA). Plaintiff alleges that
Mazzella Lifting “through Mazzella JHH employs workers in
Virginia” like the Plaintiff. See ECF No. 21 at 2. However,
Mazzella Lifting “cannot be [an] employer simply because it is the
parent company of” Mazzella JHH. Johnson, 814 F.2d at 980. Because
Mazzella JHH is a subsidiary of Mazzella Lifting, Mazzella Lifting

“receives the benefits of the doctrine of limited liability.” Id.;

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see Am. Compl. 7 9. “{W]hen a subsidiary hires employees, there is
a strong presumption that the subsidiary, not the parent company,
is the employer.” Johnson, 814 F.2d at 980.

Under the integrated employer doctrine, this presumption can
be rebutted, but only if the parent “controls the subsidiary's
employment decisions or so completely dominates the subsidiary
that the two corporations are the same entity.” Id.; see Hukill v.
Auto Care, Inc., 192 F.3d 437, 442 (4th Cir. 1999), abrogated on
other grounds by Arbaugh v. Y & H Corp., 546 U.S. 500 (2006). In
determining whether to treat the parent and subsidiary aS an
integrated employer, courts look at factors including:
“(1) common management; (2) interrelation between operations;
(3) centralized control of labor relations; and (4) degree of
common ownership/financial control.’” Meyer v. Qualex, Inc., 388
F. Supp. 2d 630, 635 (E.D.N.C. 2005) (quoting Hukill, 192 F.3d
at 442).

Plaintiff has not alleged that Mazzella Lifting and Mazzella
JHH had “anything more than a normal parent-subsidiary
relationship.” Johnson, 814 F.2d at 981; see Am. Compl. 91 8, 9.
Plaintiff tries to tie the Defendants together, arguing that
Mazzella Lifting has a “specific financial interest in the
employment decisions” of Mazzella JHH. ECF No. 21 at 3. No further
detail is alleged. However, all parent companies have a financial

interest in the employment decisions of subsidiaries. To sustain
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a claim under the integrated employer doctrine at this stage,
Plaintiff has to allege some indicia of control of the parent
company over the subsidiary and its employment decisions. See
Johnson, 814 F.2d at 982. Plaintiff has not alleged that Mazzella
Lifting excessively interfered with the business operations or
controlled the employment of Mazzella JHH. See id. at 981-82. But
see supra notes 7 and 10.

The Fourth Circuit also recognizes the joint employer
doctrine, where two parties can be considered joint employers of
the same employee and _ therefore liable for employment
discrimination “if they ‘share or co-determine those matters
governing the essential terms and conditions of employment.’”
Butler v. Drive Auto. Indus. of Am., Inc., 793 F.3d 404, 408 (4th
Cir. 2015) (quoting Bristol v. Bd. of Cnty. Comm'rs, 312 F.3d 1213,
1218 (10th Cir. 2002)). To determine if a party constitutes an
“employer” under the joint employment doctrine, a district court
must follow a “hybrid test,” which includes nine factors:

(1) authority to hire and fire the individual;

(2) day-to-day supervision of the individual,
including employee discipline;

(3) whether the putative employer furnishes the
equipment used in the place of work;

(4) possession of and responsibility over the
individual’s employment records, including
payroll, insurance, and taxes;

(5) the length of time during which the individual
has worked for the putative employer;

(6) whether the putative employer provides the

individual with formal or informal training;
(7) whether the individual’s duties are akin to a
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regular employee’s duties;
(8) whether the individual is assigned solely to

the putative employer; and

(9) whether the individual and putative employer

intended to enter an employment relationship.
Butler, 793 F.3d at 414 (footnote omitted). Of these factors, none
are dispositive, though the degree of control of the alleged
employer over the employee remains the key factor in the analysis.
See id. Therefore, the first three factors, which speak to control,
“are the most important.” Id.

Plaintiff’s Amended Complaint contains no allegations that
Mazzella Lifting could hire or fire Plaintiff; supervised
Plaintiff on a day-to-day level; or furnished the required
equipment for his job. Plaintiff also alleged few, if any, facts
addressing the other six factors in the hybrid test. But see Supra
notes 7 and 10.

The court finds that Plaintiff has failed to allege sufficient
facts to allow the court to infer that Mazzella Lifting was an
employer of Plaintiff under either the integrated employer
doctrine or the joint employer doctrine. However, the court GRANTS
Plaintiff leave to amend the Amended Complaint to allege further
indicia of control. Plaintiff will have twenty-one (21) days from
the entry of this Memorandum Order to file a second amended
complaint in this regard. Accordingly, the court GRANTS
Defendants’ Motion to Dismiss as to Mazzella Lifting and DISMISSES

Mazzella Lifting from this action without prejudice to Plaintiff's

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ability to amend its pleading within the above-specified time
period. Moreover, should discovery support a later amendment in
this regard as to the proper defendant(s), Plaintiff may move to
so file at that time.
2. Count Two: Actual Disability and Record of a Disability

The ADA prohibits covered employers from discharging
qualified employees because they are disabled. 42 U.S.C.
§ 12112(a). The elements of a discrimination claim include: (1) a
plaintiff was disabled; (2) he was a qualified individual; and
(3) he suffered an adverse employment action based on his
disability. See Jacobs v. N.C. Admin. Off. of the Cts., 780 F.3d
562, 572 (4th Cir. 2015). Defendants specifically contest whether,
under the first element, Plaintiff has sufficiently alleged that
he was disabled “within the meaning of the ADA.” Rhoads _ v.
F.D.1.C., 257 F.3d 373, 387 (4th Cir. 2001); see ECF No. 20 at 5.

Under the ADA, a “disability” may take any of the following
forms: “(A) a physical or mental impairment that substantially
limits one or more major life activities [the “actual disability”
prong]; (B) a record of such an impairment [the “record of” prong];
or (C) being regarded as having such an impairment [the “regarded
as” prong]... .” 42 U.S.C. § 12102(1) (emphasis added). Plaintiff
may claim in the alternative under all three definitions of
disability. See, ¢.g., Gentry v. E. W. Partners Club Mgmt. Co.

Inc., 816 F.3d 228, 236-38 (4th Cir. 2016).

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At this stage in the litigation, Plaintiff does not have to
provide extensive detail as to his medical condition. He must
merely plead a disability claim “above a speculative level.” Bing

v. Brivo Sys., LLC, 959 F.3d 605, 617 (4th Cir. 2020) (quoting

 

Coleman v. Maryland Ct. of Appeals, 626 F.3d 187, 190 (4th Cir.
2010)).

Plaintiff has alleged an impairment: degenerative arthritis.
Am. Compl. @ 39. Plaintiff has also alleged the impairment limits
the use of his legs and back. Id. In regard to alleging facts
sufficient to sustain a claim that his arthritis substantially
limits one or more major life activities, or that Defendants had
a record of such a disability, the court notes that the ADA’s
implementing regulations provide clarification.?? These

regulations provide that “[t]he primary object of attention in

 

12 In September 2008, Congress broadened the definition of
“disability” by enacting the ADA Amendments Act of 2008, Pub. L.
No. 110-325, 122 Stat. 3553 (“ADAAA”). See Summers v. Altarum
Inst., Corp., 740 F.3d 325, 329 (4th Cir. 2014). The legislation
reinstates “a broad scope of protection to be available under the
ADA.” Pub. L. No. 110-325, 122 Stat. 3553, § 2(b) (1). The ADAAA
provides that the definition of disability “shall be construed in
favor of broad coverage of individuals under this chapter, to the
maximum extent permitted by [its] terms.” 42 U.S.C. $ 12102 (4) (A).

Congress also instructed that the term “substantially limits”
be interpreted consistently with the liberalized purposes of the
ADAAA. Id. § 12102(4) (B); see Summers, 740 F.3d at 329. In response
to Congress, later regulations stated that “[t]he term
‘substantially limits' shall be construed broadly in favor of
expansive coverage” and that the term is “not meant to be a
demanding standard.” 29 C.F.R. § 1630.2(4) (1) (i) (2020). As
recognized in Summers, 740 F.3d at 331, Congress abrogated earlier
inconsistent caselaw when it enacted the ADAAA.

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cases brought under the ADA should be whether covered entities
have complied with their obligations and whether discrimination
has occurred, not whether the individual meets the definition of
a disability.” 29 C.F.R. § 1630.1(c) (4) (2020). “(T]he question of
whether an individual's impairment is a disability under the ADA
should not demand extensive analysis.” Pub. L. No. 110-325, 122
Stat. 3553, § 2(b) (5) (2008) (quoted in Jacobs, 780 F.3d at 572) .49

For the reasons set forth in more detail below, the court
finds that under Count Two, Plaintiff sufficiently alleges that
his arthritis qualifies him as disabled under the ADA's actual
disability and record of disability prongs. See Am. Compl.
qi] 39-48; ECF No. 21 at 3.

i. Actual Disability Discrimination

Under the “actual disability” prong, the key question before
the court is whether the Amended Complaint presents a viable claim
that the arthritis substantially limited a major life activity.
Ultimately, the court finds that this impairment and the pain it
causes plausibly qualifies as a disability under the ADA.

Plaintiff alleges that his degenerative arthritis “impacts
his ability to use his back and legs without excessive and
debilitating pain.” Am. Compl. @ 39. Plaintiff further alleges

that he was granted a reasonable accommodation. Id. at 1% 43, 44.

 

13 See supra note 12.
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Specifically, with regard to his limitations with work, Plaintiff
also points to how excessive pain prevented him from completing a
“normal part of the rigger position” known as working the
“three-inch cable” and how he required and was given special
accommodation to avoid this task. Id.; see ECF No. 21 at 5. The
court can reasonably infer at this juncture that this type of pain
could substantially limit lifting, performing certain manual
tasks, bending, and working, all categories of major life
activities recognized under the ADA.!4 See 42 U.S.C. § 12102 (2) (A).

Defendant contends that Plaintiff’s ability to work has not
been substantially limited because he can complete his job without
any problems. ECF No. 22 at 8. However, Plaintiff’s ability to
complete his job may be a result of the accommodation Defendants
granted Plaintiff. Without that accommodation, Plaintiff may well
have failed to meet the requirements of the position. His job
success after accommodations does not preclude a finding of
disability. Under the ADA, the determination of whether an
impairment is substantially limiting “shall be made without regard
to the ameliorative effects of . . . reasonable accommodations.”

42 U.S.C. § 12102(4) (FE) (i) (III); see Summers v. Altarum Inst.,

 

14 Under the ADA, “major life activities include, but are not
limited to, caring for oneself, performing manual tasks, seeing,
hearing, eating, sleeping, walking, standing, lifting, bending,
speaking, breathing, learning, reading, concentrating, thinking,
communicating, and working.” 42 U.S.C. § 12102 (2) (A).

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Corp., 740 F.3d 325, 331 (4th Cir. 2014) (rejecting the district
court’s reasoning that, because the plaintiff could have worked
with a wheelchair, he must not have been disabled).

Lastly, Defendants cite to Miller v. Maryland Department of

Natural Resources, 813 F. App’x 869, 875-76 (4th Cir. 2020), for

 

the proposition that Plaintiff has not adequately alleged a
disability. See ECF No. 20 at 5-6. However, that case is
distinguishable. In Miller, the Fourth Circuit, in an unpublished
opinion, found that the plaintiff's allegations did not satisfy
the pleading standard for an unlawful termination claim under the
ADA. See 813 F. App'x at 876. However, in Miller, the plaintiff
only alleged that he had a neck injury that resulted in herniated
discs and which “caused him difficulties with lifting, running,
sleeping, driving, and pulling and turning his neck.” Id. at 875.
The plaintiff “pled no more facts relating to his difficulties”
and left the court to guess how the injury limited such activities.
Id. Simply put, the plaintiff in Miller failed to allege
specifically how he was “substantially limited” as a result of his
injury. Id. at 875-76.

In contrast, Plaintiff in this case has alleged facts that
support his claim that his arthritis substantially limited one or
more major life activities. Plaintiff has specified that the
arthritis caused him debilitating pain, limited the use of his

back and legs, and required accommodations at work. The court has

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a clearer picture of the disability and its consequences for
Plaintiff than the district court did in Miller.

At this early juncture, drawing all reasonable inferences in
Plaintiff’s favor, his arthritis falls within the ADA’s definition
of disability. Plaintiff has sufficiently alleged he suffered an
actual disability that substantially limited one or more major
life activities.

ii. Record of a Disability

“An individual has a record of a disability if the individual
has a history of, or has been misclassified as having, a mental or
physical impairment that substantially limits one or more major
life activities.” 29 C.F.R. § 1630.2(k) (2020). Plaintiff argues
that his employer’s past record of reasonable accommodations
granted to Plaintiff for his disability allows the court to infer
Plaintiff had a “record of having a disability.” ECF No. 21 at 6-7.
As the basis for his claim, Plaintiff alleges that he had a
pre-existing arthritis diagnosis that Defendants knew about when
Plaintiff was hired. See Am. Compl. 91 40, 42. Plaintiff alleges
that his supervisor gave him a reasonable accommodation when he
started the job because his arthritis limited what tasks he could
accomplish. See id. at 17 44, 45. Finally, Plaintiff alleges that,
through his supervisor, Defendants were aware of his arthritis.
See id. at 7 48. Drawing all reasonable inferences in Plaintiff's

favor, the court finds that Plaintiff has sufficiently alleged

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that he had a record of a physical impairment that substantially

limited one or more major life activities.

For the reasons set forth in Sections B.2.(i)-(ii), the court
DENIES Defendants’ Motion to Dismiss as to the two disability
claims, “actual” and “record of,” under Count Two of the Amended
Complaint.

3. Count Three: Perceived Disability

Under the ADA, a “regarded as” disability claim requires the
individual to establish that he “has been subjected to an action
prohibited under this chapter because of an actual or perceived
physical or mental impairment whether or not the impairment limits
or is perceived to limit a major life activity.” 42 U.S.C.
§ 12102(3) (A); see also Donaldson v. Trae-Fuels, LLC, 399 F. Supp.
3d 555, 559 (W.D. Va. 2019) (citing Mercado v. Puerto Rico, 814
F.3d 581, 588 (1st Cir. 2016)) (stating that for a “regarded as”
claim a plaintiff does not need to plead whether the impairment
substantially limited a major life activity). Whether a plaintiff
is regarded as disabled “turns on the employer's perception of the
employee.” Id. (quoting Francis v. City of Meriden, 129 F.3d 281,

284 (2d Cir. 1997)).

 

15 Discovery may be required to determine exactly what records
Defendants had or could have discovered upon the disclosure of
Plaintiff’s arthritis when he began his employment.

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In Count Three of the Amended Complaint, Plaintiff claims
that Defendants perceived him as having a disability because of
his age-related susceptibility to COVID-19.16 Am. Compl. 97 149-50.
However, Plaintiff has not sufficiently pled facts supporting this
claim. Plaintiff states in conclusory terms that “Mazzella
considered [Plaintiff] disabled and overly susceptible to the
COVID-19 virus,” without any factual basis for this claim other
than that Defendants replaced Plaintiff with a younger employee.
Am. Compl. @ 153.

Moreover, Plaintiff does not cite to precedent for the
proposition that an employer’s concern that an employee might get
sick in the future could count as a perceived disability. See ECF
No. 21 at 8. A perceived disability requires that an employer
believes that an employee has a “physical or mental impairment.”
42 U.S.C. § 12102(3) (A). Plaintiff fails to explain how a risk
factor for COVID-19 like age counts as a physical impairment.

While the Fourth Circuit has not ruled on whether the perception

 

16 Plaintiff appears to state in his Response that Defendants
also perceived his arthritis to be a disability or that it would
make him more susceptible to COVID-19. See ECF No. 21 at 7-8. The
court finds that Count Three of the Amended Complaint did not
specifically include such allegations, with the exception of
q 145, which simply “reasserts and affirms the statements made in
paragraphs 1-144.” Am. Compl. at G 145. Count Three focused on
Plaintiff's age as a perceived disability. Therefore, the court
holds that Plaintiff failed to allege sufficiently that Defendants
perceived his arthritis as a disability and DISMISSES Plaintiff's
“regarded as” disability claim as to his arthritis, absent specific

allegations to this effect.
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of a risk of COVID-19 qualifies as a “perceived” disability, the
Eleventh Circuit addressed a similar question in the context of a
potential risk of the Ebola virus during future foreign travel.
See Equal Emp. Opportunity Comm'n v. STME, LLC, 938 F.3d 1305,
1315 (llth Cir. 2019). The Eleventh Circuit concluded that “the
disability definition in the ADA does not cover this case where an
employer perceives a person to be presently healthy with only a
potential to become ill and disabled in the future.” Id. Similarly,
possible future exposure to COVID-19 does not constitute an
impairment under the ADA.

Plaintiff’s conclusory allegations that Defendants perceived
his age as a disability because it is a COVID-19 risk factor are
insufficient to state a claim under the ADA. Therefore, the court
GRANTS Defendants’ Motion to Dismiss as to Count Three of the
Amended Complaint and DISMISSES Plaintiff’s claim for a “regarded
as” disability as to his age and susceptibility to COVID-19.17

4. Count Four: Termination in Violation of Public Policy

In Count Four of the Amended Complaint, Plaintiff asserts
that when Defendants fired Plaintiff because of his age, Defendants
violated a public policy articulated by the Commonwealth of

Virginia in the Virginia Human Rights Act (“VHRA” or “the Act”).

 

17 To the extent Plaintiff has specific allegations that his
arthritis constitutes a “regarded as” disability, he must file
them in any second amended complaint. See supra note 16; infra
Part III.

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See Am. Compl. 9% 173-74 (citing Va. Code Ann. § 2.2-3905); ECF
No. 21 at 8-9 (citing Va. Code Ann. § 2.2-3900 (2020)).
In Virginia, employment is generally terminable at any time,

for any reason, or for no reason at all. Lockhart v. Commonwealth

Educ. Sys. Corp., 247 Va. 98, 102, 439 S.E.2d 328, 330 (1994).

However, a “Bowman claim” allows an at-will employee!® to bring a
tortious wrongful discharge claim if the termination violates
Virginia public policy as expressed in a Virginia statute. See
Bowman v. State Bank of Keysville, 229 Va. 534, 540, 331 S.E.2d
797, 801 (1985).

In Virginia, a common law claim for wrongful discharge may be
brought only under one of three circumstances: (1) “an employer
violated a policy enabling the exercise of an employee’s
statutorily created right;” (2) “the public policy violated by the
employer was explicitly expressed in the statute and the employee
was clearly a member of that class of persons directly entitled to
the protection enunciated by the public policy;” or (3) “the
employee's refusal to engage in a criminal act.” Rowan v. Tractor

Supply Co., 263 Va. 209, 213-14, 559 S.E.2d 709, 710-11 (2002).

 

18 Defendants state that Plaintiff was an at-will employee
while working for Mazzella JHH. See ECF No. 20 at 10; ECF No. 22
at 14. Plaintiff does not contest this assertion. For the purposes
of this Motion to Dismiss, the court will assume Plaintiff’s
at-will employment status, although it remains unclear what entity
was, or entities were, Plaintiff’s employer. See supra notes 7 and
10; infra note 24 and accompanying text.

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The VHRA prohibits age discrimination in employment. See Va.
Code Ann. § 2.2-3905. Plaintiff, instead of making a claim under
the VHRA, relies on the public policy against age discrimination
stated in the VHRA as a basis for a common law Bowman claim.}?9 See
Am. Compl. 99 181-85; ECF No. 21 at 10; Va. Code Ann.
§ 2.2-3900(B) (2) (stating Virginia’s policy to safeguard all
individuals from unlawful discrimination because of age or
disability) .?°

i. History of VHRA Bowman Claims

The use of the VHRA as a basis for a common law unlawful
termination claim has a complicated history. In 1994, the Virginia
Supreme Court found that the VHRA articulated a policy against
employment discrimination based upon race and gender, which did
fall under the exception recognized in Bowman. See Lockhart, 247
Va. at 104, 106, 439 S.E.2d at 331-32. The court found that the
Act could form the basis for a Bowman claim even though the Act

stated: “Nothing in this chapter creates, nor shall it be construed

 

19 Plaintiff’s Response claims that he has an actionable
Bowman claim for discrimination based on both age and disability.
See ECF No. 21 at 9. However, the specific allegations in Count
Four of the Amended Complaint, other than those generally
incorporated in @ 170, allege only that Defendants violated the
VHRA by terminating Plaintiff because of his age and does not
mention his alleged disability. See Am. Compl. 97 171-185. In any
event, given the court’s analysis herein, a Bowman claim for age

or disability would fail. See infra Part II(B) (4) (ii).

20 See supra note 19 and accompanying text.

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to create, an independent or private cause of action to enforce
its provisions.” Va. Code Ann. § 2.1-725 (1994); see Lockhart, 247
Va. at 106, 439 S.E.2d at 332 (Compton, J., dissenting) (arguing
that the majority holding was contrary to the explicit language of
the Act).

In 1995, the Virginia General Assembly amended the Act to
state that nothing in the Act creates private causes of action to
enforce its provisions “except as specifically provided.” Va. Code
Ann. § 2.1-725(A) (1995) (VHRA with the 1995 amendments); see Doss
v. Jamco, Inc., 254 Va. 362, 368, 492 S.E.2d 441, 444 (1997). The
amended Act also included new language stating: “Causes of action
based upon the public policies reflected in this chapter shall be
exclusively limited to those actions, procedures and remedies, if
any, afforded by applicable federal or state civil rights statutes
or local ordinances.” Va. Code Ann. § 2.1-725(D) (1995). In 1997
in Doss, the Virginia Supreme Court found that in enacting the
1995 amendments to the VHRA, “the General Assembly plainly
manifested an intent to abrogate the common law with respect to
causes of action for unlawful termination of employment based upon
the public policies reflected in the Act.” Doss 254 Va. at 372,
492 S.E.2d. at 447 (finding that the amended Act prohibited Bowman
claims relying on its stated public policies).

After Doss, courts consistently rejected the use of the VHRA

as a basis for Bowman claims. See, e.g., Wright v. Hilldrup Moving

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& Storage, No. 1:16-CV-1349, 2017 WL 2262842, at *5 (E.D. Va.
May 23, 2017) (Trenga, J.) (finding that there is “no recognized
Virginia common law claim for wrongful termination on the basis of
age, race, sex or other protected categories covered by the
Virginia Human Rights Act”). These courts based such decisions in
part on the language in Va. Code Ann. § 2.2-3903(A) and (D) (2014)
that explicitly limited the causes of action based on the Act or
its public policies to those articulated in the Act. See, e.g.,
Branscome v. Virginia Dep't of Env't Quality, No. 7:17-CV-359,
2017 WL 4897774, at *5 (W.D. Va. Oct. 30, 2017) (dismissing a
Bowman claim because the claim was based on public policies that
were also reflected in the VHRA and, therefore, precluded by Va.
Code Ann. § 2.2-3903(D)).

ii. Continued Preclusion of Bowman Claims under the VHRA

Plaintiff cites to amendments to the VHRA in 2020 as
abrogating the decades of caselaw that have limited Bowman claims
based on the VHRA. See ECF No. 21 at 8-9. Plaintiff claims that
the reformatted § 2.2-3900 of the VHRA states “a clear policy
against employment discrimination” and thus meets the second
Bowman exception as articulated in Rowan. ECF No. 21 at 8-9. That
second exception applies when an employer discharges an employee
in violation of a public policy “explicitly expressed” in statute
and the “employee was clearly a member of that class of persons

directly entitled to the protection enunciated by the public

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policy.” Rowan, 263 Va. at 214, 559 S.E.2d at 711. Specifically,
Plaintiff points to the reformatted provisions of § 2.2-3900 which,
after the 2020 amendments, stated: “It is the policy of the
Commonwealth to: Safeguard all individuals within the Commonwealth
from unlawful discrimination in employment because of race, color,
religion, national origin, sex, pregnancy, childbirth or related
medical conditions, age, marital status, sexual orientation,
gender identify, disability, or status as a veteran.” Va. Code
Ann. § 2.2-3900(B) (2) (2020) (emphasis added).

However, Plaintiff overstates the changes to the stated
policy. The VHRA, before the amendments stated: “It is the policy
of the Commonwealth to: Safeguard all individuals within the
Commonwealth from unlawful discrimination because of race, color,
religion, national origin, sex, pregnancy, childbirth or related
medical conditions, age, marital status, or disability ... in
employment.” Va. Code Ann. § 2.2-3900(B) (1) (2001). The General
Assembly did not strengthen the wording of the policy in the 2020
amendments, rather the 2020 amendments simply reformatted aspects
of the Commonwealth’s previous policy into discrete paragraphs and
added updated categories of “sexual orientation, gender identity,
[and] status as a veteran” to the anti-discrimination policy.
Compare Va. Code Ann. § 2.2-3900(B) (2) (2020), with Va. Code Ann.

§ 2.2-3900(B) (1) (2001).

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Moreover, courts have consistently rejected Bowman claims
based on the VHRA, not for lack of a stated policy, but because
the Act, itself, limited common law claims based on its policies.
Any changes to the policies articulated in the Act would have
little effect on the holding of the Virginia Supreme Court in Doss,
barring common law claims for unlawful termination of employment
based upon the public policies reflected in the VHRA. See 254 Va.
at 372, 492 S.E.2d at 447. This court concludes that any 2020
policy changes do not affect this case at bar or the Motion to
Dismiss. If anything, the addition of three (3) updated categories
of discrimination further limit Bowman claims based on the VHRA.

In the 2020 amendments, the General Assembly did repeal
§ 2.2-3903, and importantly subsections (A) and (D). See Va. Code
Ann. § 2.2-3903 (2020) (“Repealed by Acts 2020, c. 1140, cl. 2.”).
As stated above, courts have relied on the language in
§ 2.2-3903(A) and (D) when limiting private actions based on the
Act to those actions articulated in the Act. See Va. Code Ann.
§ 2.2-3903(A) and (D) (2014). The General Assembly did not appear
to add comparable language elsewhere in the Act.

Without this language, the holding of Doss, barring VHRA

Bowman claims, arguably does not apply to the amended Act,?+ but

 

21 The court notes that Plaintiff did not raise or address
this argument, or any aspect of the repeal of § 2.2-3903, nor did
Defendants. To the extent that the repeal of § 2.2-3903 affects
the holding of Doss, and its progeny of caselaw, the Virginia

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this will need to be a pronouncement from the Virginia Supreme
Court, because despite the changes to the Act, this court finds
that Plaintiff does not have a viable Bowman claim. Plaintiff
cannot proceed with a Bowman claim because the VHRA provides its
own remedial scheme and contemplates employees bringing a cause of
action based on age and/or disability discrimination under the
statute. See Va. Code Ann. § 2.2-3905(B) (1) (a). Virginia courts
have regularly held that “when a statute creates a right and
provides a remedy for the vindication of that right, then that
remedy is exclusive unless the statute says otherwise.” Concerned
Taxpayers of Brunswick Cty. v. Cty. of Brunswick, 249 Va. 320,
330, 455 S.E.2d 712, 717 (1995); see Carmack v. Virginia, No.
1:18-CV-31, 2019 WL 1510333, at *13 (W.D. Va. Apr. 5, 2019)
(Urbanski, C.J.) (collecting cases). These collected cases involve
Bowman claims under other statutory schemes rather than the VHRA
because Virginia precedent for decades clearly barred VHRA based
Bowman claims. This is persuasive precedent, however, as it
supports that the existence of an extensive statutory scheme
disqualifies the underlying policy from also supporting a Bowman
claim. See Carmack, 2019 WL 1510333, at *13-14 (finding that Va.
Code Ann. § 2.2-3000, Virginia's State Grievance Procedure,

contained a “formal process for resolving employment-related

 

Supreme Court will have to overrule or modify this precedent, and
it has not done so.

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disputes” and could not give rise to a Bowman claim because that
would “enable a plaintiff to circumvent extensive remedial schemes
crafted by the Virginia General Assembly, thereby rendering them
a nullity”).

Plaintiff cannot work around the structure, limitations, and
remedies of the VHRA by bringing a related Bowman claim. The VHRA
prescribes an extensive remedial scheme that employees must follow
when relying on the rights and policies articulated in the Act. At
the time of Plaintiff’s termination in 2020, to bring an employment
discrimination claim under the Act, a person had to file a
complaint with the Division of Human Rights of the Department of
Law (“the Division”) detailing the allegations.*? See Va. Code Ann.
§ 2.2-3907(A) (2020). “Once a charge has been issued, the Division
shall conduct an investigation sufficient to determine whether
there is reasonable cause to believe the alleged discrimination
occurred.” Id. § 2.2-3907(D) (2020). The review will lead to a
report that details the Division’s findings. See id. Only after
receiving the report does the claimant have the right to seek
damages in a civil suit under the statute, unless the investigation
takes more than one hundred eighty (180) days. See id.

§ 2.2-3907(E), (F), (H) (2020). “An aggrieved person who has been

 

22 While there were some minor changes to the VHRA in 2021,
they are not applicable here, except the Division of Human Rights
of the Department of Law is now known as the Office of Civil Rights
of the Department of Law. See Va. Code Ann. § 2.2-3907 (2021).

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provided a notice of his right to file a civil action pursuant to
§ 2.2-3907 may commence a timely civil action . . . .” Ide
§ 2.2-3908(A) (2020).

The VHRA statutory scheme has been expanded and formalized
since the holding in Doss. For example, the 2020 amendments enacted
the remedial scheme discussed above. Compare Va. Code Ann.
§ 2.2-3907 (2020) (laying out a mandatory remedial scheme for
employment discrimination complaints), with Va. Code Ann. §2.2-
3903 (2014) (containing a less substantial remedial scheme without
an administrative exhaustion requirement). When a Virginia statute
already contains a remedial scheme for violations of the statute,
a plaintiff does not have a Bowman claim to vindicate the statute's
underlying public policy. See Williams v. TMS Int'l, LLC, No.
3:21-CV-260, 2021 WL 4071868, at *5-7 (B.D. Va. Sept. 7, 2021)
(Novak, J.). This reasoning applies with equal force to claims
under the VHRA itself. In fact, the expansion of the VHRA‘'S
remedial scheme since Doss strengthens the application of the
persuasive precedent from non-VHRA Bowman cases that found
statutory remedies to be preclusive of Bowman claims. This court
concludes that removing the § 2.2-3903 language does not

automatically allow Bowman claims, when the VHRA articulates its

own cause of action and remedy.??

 

23 See supra note 21 and accompanying text.

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Finally, the VHRA still precludes Bowman claims based on the
statute’s policies, even if a plaintiff cannot then prove
employment discrimination under the remedial text of the statute.
In other words, courts should not allow plaintiffs to use a Bowman
claim to create “a broader remedy than the statute specifically
provides.” Carmack, 2019 WL 1510333, at *13 (quoting Jenkins v.

Heilig-Meyers Co., 57 Va. Cir. 448, 450 (1998)). Doing so would

 

abandon the principle of strict construction and undermine “the
legislative scheme as contemplated and created by the General
Assembly.” Id. (quoting Jenkins, 57 Va. Cir. at 450). Courts would
also unnecessarily deplete judicial resources, if they treated a
plaintiff’s remedial disqualification under the VHRA as a
prerequisite to making a Bowman claim. Such would require a court
to, in essence, adjudicate a plaintiff's VHRA claim before
addressing the merits of any Bowman claim.

Therefore, Defendants’ Motion to Dismiss as to Count Four of
the Amended Complaint is GRANTED. Accordingly, the court DISMISSES
Plaintiff's claim for an unlawful termination against Virginia
public policy under Count Four.

IIIT. Conclusion

For the reasons stated above, Defendants’ Motion to Dismiss,
ECF No. 19, is GRANTED in part and DENIED in part. The court GRANTS
Defendants’ Motion to Dismiss as to Mazzella Lifting. Mazzella

Lifting is DISMISSED from this case without prejudice, with

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Plaintiff being GRANTED leave to amend regarding the relationship
between Mazzella Lifting and Mazzella JHH.*4 The court DENIES
Defendants’ Motion to Dismiss as to the two disability claims,
“actual” and “record of,” under Count Two of the Amended Complaint.
The court GRANTS Defendants’ Motion to Dismiss as to Count Three
of the Amended Complaint and DISMISSES Plaintiff’s claim for a
“regarded as” disability as to his age. To the extent Plaintiff
has specific allegations that his arthritis constitutes a
“regarded as” disability under Count Three, he must file them in
any second amended complaint.25 Finally, the court GRANTS
Defendants’ Motion to Dismiss as to Count Four of the Amended
Complaint and DISMISSES Plaintiff’s claim for an unlawful
termination against Virginia public policy. The Clerk is DIRECTED

to forward a copy of this Memorandum Order to counsel for the

parties.

IT IS SO ORDERED. isi -PR-

Rebecca Beach Smith
Senior United States District Judge

REBECCA BEACH SMITH
SENIOR UNITED STATES DISTRICT JUDGE

 

March uy 2022

 

24 Any second amended complaint must reallege all other
counts, as it would then be the operative pleading.

25 See supra note 24.
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